Case 2:19-cv-05353-JAK-MRW Document 1-1 Filed 06/19/19 Page 1 of 11 Page ID #:4




                          EXHIBIT A
         Case 2:19-cv-05353-JAK-MRW Document 1-1 Filed 06/19/19 Page 2 of 11 Page ID #:5
BectronicaJly FILED by Superior Court of California, County of Los Angeles on                         Sherrl R. Carter, Executive Officer/Clerk of Court, by D. Fowfer.Dgi^p^^


                                                         SUMMONS                                                                         FOR COURT USE ONLY
                                                                                                                                      (SOLO PARA USODELA CORTE}
                                                 (CiTAC!ON JUDICIAL)
     NOTICE TO DEFENDANT:
     (AVISO AL DEMANDADO):

      NCB MANAGEMENT SERVICES, INC.; DOES 1-10 inclusive,


     YOU ARE BEING SUED BY PLAINTIFF:
     (LO ESTA DEMANDANDO EL DEMANDANTS):
      RICHARD ALLEN,



       NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 dsys. Read the information
       below.
          You have 30 CALENDAR DAYS after this summons and legal papers are served on you to ftte a written response at this court and have a copy
       served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
       case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
       Online Self-Help Center {www. courtinfo ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the Sing fee, ask
       the court dark for a fee waiver form, if you do not file your response on time, you may lose the case by default, and your wages, money, and property
       may be taken without further warning from foe court.
          There are other legal requirements. You may want to call an attorney right away, if you do not know an attorney, you may want to call an attorney
       referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program You can locate
       these nonprofit groups at foe. California Legal Services Web site ( www.lawhefpcaSfomia.ong). foe California Courts Online Self-Help Center
       (www.courtmfb.ca.gov/soffhdp), or by contacting your focal court or county bar association. NOTE: The court has a statutory (ten for waved fees and
       costs on any settlement or arbitration award of $10,000 or more in a dvii case. The court's lien must be paid before foe court will dismiss foe case.
       tAVISQI Lo han demandado. Si no responds dentro de 30 dias, la code puede decidiren su contra sin escucbar su versidn. Lea la informacidn a
       continuacfon.
          Tfene 30 DlAS DE CALENDARIO despues de que le enireguen esta citaddn y papules legates para presentar una respuesta por escrito en esta
       carte y hacer que se entregue una copia a/ demandants. Una carta o una llamada lelefdnica no lo protegen. Su respuesta por escrito tiene que estar
       en formato legal corredo si desea que procesen su caso en la carta. Es poslble que hoya un formulario que usted pueda usar para su respuesta.
       Puede encontrar estos formularios de la corte y m&s informacidn en ei Cenlro de Ayuda de las Cortes de California fwww.succrtB.ca.gov! en la
       blblloteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaddn, pkta aJ secretario de la corte
       que fe dd un formulario de exonddn do pago de cuatas. Si no presenta su respuesta a tiompo, puede pettier el caso por incumpBmiento y la corte le
       podrd quitar su suekto, cfinero y bienes sin mds advertancio.
         Hay otros requisites legates. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puade Honiara un servicio de
       remisidn a abogados. Si no puede pagar a un abogado, es posible que cumpta con los requisites para oblener servtcios legales gratuitos de un
      programs de servtcios legates sin lines de lucre. Puede encontrar estos grupos sin fines de lucro en el sitfo web da California Legal Services,
       fwwwJawhelpcafiforrria.org! en el Centre de Ayuda de las Cortes de California, fwww.sucorte.ca.govj o poni&ndose en contacto con la corte o el
       cotegio de abogados locales. A VISO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
       cuafquier recuperaddn de $10,000 6 mds de valor recibida medianto un acuerdo o una concesibn de arbitraje en un caso de derecho civil. Tiene que
      pagar el gravamen de la corte antes de que le corte pueda desechar el caso.

     The name and address of the court is:                                                                               CASE NUMBER:
                                                                                                                         (Numoro dot Caso):
     (El nombrey direction de la corte es): Santa Monica Courthouse
      1 725 Main Street                                                                                                       1 9SMCVOQ8B9
      Santa Monica, CA 9040 1
     The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
     (El nombre, la direeddn yefnumeno de telefono del abogado del demandante. o del demandante que no tiene abogado, es):
      Todd M. Friedman, 21550 Oxnard St., Suite 780 Woodland Hills, CA 9 1 367, 323-306-4234

     DATE:                                                                                    Clerk, by                                                              , Deputy
     fFec/iaJOS/ 1 3^2 01 9                 Sherrl R. Carter Executive Officer / Clerk of Court (Secretario)                  Donita Fowler                           (Adjunto)
     (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
     (Para prueba de entrega de esta citatidn use el formulario Proof of Service of Summons, (POS-010)).
                                     NOTICE TO THE PERSON SERVED: You are served
      {SEAL)
                         MM
                                    1. 1     I as an individual defendanL
                                    2. |     | as the person sued under the fictitious name of (specify):
              W                       '*h
           %                              *
          m                                          3. I X I on behalf of (specify): NCB Management Services, Inc.
                                            tj
         s<
         &                                si                under QO CCP 416.10 (corporation)                             |     1   CCP 416.60 (minor)
           &                                                      I    I
            %                                                              CCP 41 6.20 (defunct corporation)              I     |   CCP 4 1 6.70 (conservatee)

              aw                                                  I

                                                                  I
                                                                       I CCP 4 1 6.40 (association or partnership) |

                                                                       I other (specify):
                                                                                                                                |   CCP 41 6.90 (authorized person)


                                                     4. I      I by personal delivery on (date):
                                                                                                                                                                        PtMM 1 Of 1
      Form Arfofriod tot Mandatory 'Jso
        JudKia! Council of CaEfomio
                                                                                      SUMMONS                                                 Codo of Chd Proeedurar §§ 4 12_20. 465
                                                                                                                                                 _            vsrtW coufOnfo ca. 90
        SUM-100 (Rov. July 1. 2fX»|
                                                                                                                                                         lAaxMesnLegaiNeL Ine
        Case 2:19-cv-05353-JAK-MRW Document 1-1 Filed 06/19/19 Page 3 of 11 Page ID #:6
                                                                                 19SMCV00889

                                  Assigned for all purposes to: Santa Monica Courthouse, Judicial Officer. Etaine Mandel



ElectronicaSy ; LED by Superior Court of California, County of Los Artgeies on 05/13/2019 04:10 PM Sherri R. Carter, Executive Officer/Clerk of Court by D. Fowier.De
                                                                                                                                                                      >uty Clerk

            i    Todd M. Friedman (216752)
                 Adrian R. Bacon (280332)
                Law Offices of Todd M. Friedman, P.C.
          3      21550 Oxnard St, Ste 780
                 Woodland Hills, CA 91367
          4      Phone: XXX-XX-XXXX
          5     Fax: 866-633-0228
                tfriedman@toddflaw.com
          6     abacon@toddflaw.com
                 Attorneys for Plaintiff
          7


          8
                                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                               FOR THE COUNTY OF LOS ANGELES
          9                                       UNLIMITED JURISDICTION

         10
                                                                                        )   Case No.          19SMOVOOS89
         n                                                                              )
                RICHARD ALLEN,                                                          )   COMPLAINT FOR
        12
                                                                                        )
                                                  Plaintiff,                            )         1.    Violation of Rosenthal Fair Debt
        13
                                                                                        )               Collection Practices Act
                -vs-                                                                              2.    Violation of Fair Debt Collection
        14                                                                              )
                                                                                        )               Practices Act
        15      NCB MANAGEMENT SERVICES, INC.;                                          )         3.   Violation of Telephone Consumer
                DOES 1-10 inclusive,                                                    )              Protection Act.
                                                                                        )
        17                                        Defendant.                            )   (Amount not to exceed $10,000)
                                                                                        )
        18
                                                                                        )   Jury Trial Demanded

        19
                                                                        I. INTRODUCTION
        20
                           1.         This is an action for damages brought by Plaintiff RICHARD ALLEN for

        21      Defendant's violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code §
        22      1 788, et seq. (hereinafter "RFDCPA") and the Fair Debt Collection Practices Act, 15 U.S.C. §
        23
                1692, et seq. (hereinafter "FDCPA"), both of which prohibit debt collectors from engaging in

        24      abusive, deceptive, and unfair practices. Ancillary to the claims above, Plaintiff further alleges
        25      claims for Defendant's violations of the Telephone Consumer Protection Act., 47 U.S.C. §227,
       26       et seq. (hereinafter "TCPA").

       27       III
       28




                                                                                Complaint - 1
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 1
                                               II. PARTIES

 2          2.      Plaintiff, RICHARD ALLEN ("Plaintiff'), is a natural person residing in LOS

 3   ANGELES County in the state of California, a "debtor" as defined by the RFDCPA, Cal. Civ.

 4   Code § 1788.2(h), and a "consumer" as defined by the FDCPA, 15 U.S.C. § 1692a(3).

 5   Furthermore, Plaintiff is a natural person and a "person" as defined by 47 U.S.C. § 153(39).

 6          3.      At all times relevant herein, Defendant, NCB MANAGEMENT SERVICES,

 7   INC. ("Defendant"), was a company engaged, by use of the mails and telephone, in the business

 8   of collecting a debt from Plaintiff which qualifies as a "consumer debt," as defined by the

 9   RFDCPA, Cal. Civ. Code § 1788.2(f), and as a "debt," as defined by the FDCPA, 15 U.S.C. §

10   1692a(5). Defendant regularly attempts to collect debts alleged to be due another, and therefore

n    is a "debt collector" as defined by the RFDCPA, Cal. Civ. Code § 1 788.2(c) and the FDCPA, 1 5

12   U.S.C. § 1692a(6). Further, Defendant uses an "automatic telephone dialing system" as defined

13   by the TCPA, 47 U.S.C. §227, and Defendant is a "person" as defined by 47 U.S.C § 153(39).

14          4.      The above named Defendant, and its subsidiaries and agents, are collectively

is   referred to as "Defendants." The true names and capacities of the Defendants sued herein as

16   DOE DEFENDANTS 1 through 10, inclusive, are currently unknown to Plaintiff, who therefore

17   sues such Defendants by fictitious names. Each of the Defendants designated herein as a DOE

18   is legally responsible for the unlawful acts alleged herein. Plaintiff will seek leave of Court to

19   amend the Complaint to reflect the true names and capacities of the DOE Defendants when such

20   identities become known.

21          5.      Plaintiff is informed and believes that at all relevant times, each and every

22   Defendant was acting as an agent and/or employee of each of the other Defendants and was acting

23   within the course and scope of said agency and/or employment with the full knowledge and

24   consent of each of the other Defendants. Plaintiff is informed and believes that each of the acts

25   and/or omissions complained of herein was made known to, and ratified by, each of the other

26   Defendants.

27   ^
28   M




                                                Complaint - 2
Case 2:19-cv-05353-JAK-MRW Document 1-1 Filed 06/19/19 Page 5 of 11 Page ID #:8




     1
                                           in. FACTUAL ALLEGATIONS
 2
                  6.       At various and multiple times prior to the filing of the instant complaint, including

 3       within the one year preceding the filing of this complaint, Defendant contacted Plaintiffregarding

 4       an alleged debt.

 5                7.       In or around 2015, Plaintiff had a loan with a bank, Republic Bank & Trust

 6       ("RBT").

 7                8.     Plaintiff authorized RBT to make automatic monthly ACH withdrawals, which

 8       they did for some time. However, for an unknown reason, and unbeknownst to Plaintiff, the

 9       automatic ACH withdrawals stopped. RBT never informed Plaintiff that the automatic ACH

10       withdrawals stopped, therefore, Plaintiff was under the impression that the loan was being paid

11       on a monthly basis.

12                9.     Beginning in or 2016 up until at least April 2019, Defendant called Plaintiff

13       innumerable times in connection with collection on an alleged debt on Plaintiffs cellular

14       telephone number ending in -5 1 60.

15                10.    Defendant called from telephone numbers confirmed to belong to Defendant,

16       including but not limited to (800) 283-5095, (877) 536-0185, (818) 638-3674, (818) 638-3724,

17       (818) 476-7159, (818) 476-7163, (818) 638-3678, (800) 828-1 110 and (818) 638-3728.

18                1 1.   When Plaintiff picks up the calls from Defendant, there is a brief pause, of about

19       three seconds or so before a person comes on the line.

20                12.    Plaintiff has asked Defendant to stop calling on multiple occasions in 2017 and in

21       or around January or February of 201 8, however, Defendant continues to call on an almost daily

22       basis.

23                13.    Defendant also used an "automatic telephone dialing system," as defined by 47

24       U.S.C. § 227(a)(1), to place its repeated collection calls to Plaintiffs seeking to collect the debt

25       allegedly owed.

26                14.    Defendant's calls constituted calls that were not for emergency purposes as

27       defined by 47 U.S. C. § 227(b)(1)(A).

28




                                                       Complaint - 3
Case 2:19-cv-05353-JAK-MRW Document 1-1 Filed 06/19/19 Page 6 of 11 Page ID #:9




 1
             15.        Defendant's calls were placed to telephone number assigned to a cellular

 2   telephone service for which Plaintiffs incur a charge for incoming calls pursuant to 47 U.S.C.

 3   §227(b)(J).

 4           16.        Defendant's calls and its contents were enough to be considered harassment, and

 5   thus caused high levels of stress to Plaintiff.

 6           17.        §1788.17 of the RFDCPA mandates that every debt collector collecting or

 7   attempting to collect a consumer debt shall comply with the provisions of Sections 1692b to

 8   1692j, inclusive, of, and shall be subject to the remedies in Section 1692k of, Title 15 of the

 9   United States Code statutory regulations contained within the FDCPA, 15 U.S.C.             §1692d, and

10   §1692d(5).

li           18.        Defendant's conduct violated the FDCPA and RFDCPA in multiple ways,

12   including but not limited to:

13                 a)   Causing a telephone to ring repeatedly or continuously to annoy Plaintiff (Cal.
                        Civ. Code § 1788.11(d));
14


15
                   b) Communicating, by telephone or in person, with Plaintiff with such frequency as
16
                      to be unreasonable and to constitute an harassment to Plaintiff under the
                        circumstances (Cal. Civ. Code § 1788.11(e));
17


18                 c)   Causing Plaintiffs telephone to ring repeatedly or continuously with intent to
                        harass, annoy or abuse Plaintiff (15 U.S.C. § 1692d(5));
19


20
                   d) Communicating with Plaintiff at times or places which were known or should
21                    have been known to be inconvenient for Plaintiff (15 U.S.C. § 1692c(a)(l)); and

22
                   e)   Engaging in conduct the natural consequence of which is to harass, oppress, or
23                      abuse Plaintiff (15 U.S.C. § 1692d)).

24

            1 5.        Defendant's conduct violated the TCPA by:
25

                   a)   using any automatic telephone dial ing system or an artificial or pre
26
                        recorded voice to any telephone number assigned to a paging
27                      service, cellular telephone service, specialized mobile radio
                        service, or other radio common carrier service, or any service for
28                      which the called party is charged for the call (47 USC
                        §227(b)(A)(iii)).




                                                    Complaint - 4
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     1


 2
                 16.          As a result of the above violations of the RFDCPA, FDCPA, and TCPA, Plaintiff

 3        suffered      and    continue    to   suffer   injury   to   Plaintiffs   feelings,   personal   humiliation,
 4        embarrassment, mental anguish and emotional distress, and Defendant is liable to Plaintiff for

 5        Plaintiffs actual damages, statutory damages, and costs and attorney's fees.

 6                                     COUNT I: VIOLATION OF ROSENTHAL
                                     FAIR DEBT COLLECTION PRACTICES ACT
 7


 8               17.          Plaintiff reincorporates by reference all of the preceding paragraphs.

 9               18.          To the extent that Defendant's actions, counted above, violated the RFDCPA,

10        those actions were done knowingly and willfully.

u                                                   PRAYER FOR RELIEF

12               WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant

I3       for the following:

14                            A.     Actual damages;
                              B.     Statutory damages for willful and negligent violations;
15                            C.     Costs and reasonable attorney's fees; and
                              D.     For such other and further relief as may be just and proper.
16


17
                                          COUNT II: VIOLATION OF FAIR DEBT
18                                          COLLECTION PRACTICES ACT

19               1 9.         Plaintiff reincorporates by reference all of the preceding paragraphs.

20              20.           To the extent that Defendant's actions, counted above, violated the FDCPA, those

21       actions were done knowingly and willfully.

22                                                 PRAYER FOR RELIEF

23              WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant

24       for the following:

25                            A.     Actual damages;
                              B.     Statutory damages;
26
                              C.     Costs and reasonable attorney's fees; and
27
                              D.     For such other and further relief as may be just and proper.
         III
28       III
         III




                                                            Complaint - 5
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     1
                                    COUNT III: VIOLATION OF TELEPHONE
                                       CONSUMER PROTECTION ACT
 2


 3                 21.     Plaintiff reincorporates by reference all of the preceding paragraphs..

 4                 22.     The foregoing acts and omissions of Defendant constitute numerous and multiple

 5        negligent violations of the TCPA, including but not limited to each and every one of the above

 6        cited provisions of 47 U.S.C. § 227 et seq.

 7                 23 .    As a result of Defendant's negligent violations of 47 U.S. C. §22 7 et seq., Plaintiff

 8        is entitled an award of S500.00 in statutory damages, for each and every violation, pursuant to

 9        47 U.S.C. § 227(b)(3)(B).

10                 24.     The foregoing acts and omissions of Defendant constitute numerous and multiple

!j       knowing and/or willful violations of the TCPA, including but not limited to each and every one

12        of the above cited provisions of 47 US. C. § 227 et seq.

13
                   25.     As a result of Defendant's knowing and/or willful violations of 47 U.S.C. § 227

,4       et seq., Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every

l5       violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).


16
                   26.     Plaintiff is entitled to and seeks injunctive relief prohibiting such conduct in the

17       future.


18                                             PRAYER FOR RELIEF

19
                   WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

20       Defendant for the following:

                          A. As a result of Defendant's negligent violations of 47 U.S. C. §227(b)(1),
21
                             Plaintiff is entitled to and request $500 in statutory damages, for each
22                           and every violation, pursuant to 47 U.S.C. 227(b)(3)(B);
                          B. As a result of Defendant's willful and/or knowing violations of 47
23
                             U.S.C. §227(b)(l), Plaintiff is entitled to and requests treble damages,
24
                             as provided by statute, up to $1,500, for each and every violation,
                             pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C); and
25                        C. Any and all other relief that the Court deems just and proper.
         III
26       ///
27       ^
         III
28       III
         III




                                                       Complaint - 6
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 l
                      PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

 2
            27.     Plaintiff reserves his right under Article 1, Section 1 6 of the Constitution of the
 3
     State of California to a trial by jury on all issues so triable and hereby demands as much.
 4


 5
                    Respectfully submitted this 13th day of May, 2019.
 6


 7
                                            By:         a
                                                     Todd M. Friedman, Esq.
 8
                                                     Law Offices of Todd M. Friedman, P.C.
                                                     Attorney for Plaintiff
 9


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                                                  Complaint - 7
         Case 2:19-cv-05353-JAK-MRW Document 1-1 Filed 06/19/19 Page 10 of 11 Page ID #:13
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       _AT[O^YC« PA^-nr WITHOUT                                        Sa<- number, and address):                                                       FOR COURT USE ONLY


            Law Offices of Todd M. Friedman
            21550 Oxnard St., Suite 780
            Woodland Hills, CA 91367
               TELEPHONE NO.: 323-306-4234                                            fax no.. 866-633-0228
        attorney for (Name): Plaintiff, RJ chard Allen
       SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS AtlgeleS
                  street address. 1725 Main Street
                  mailing address: 1725 Main Street
                 cfTY and zip code: Santa Monica, 90401
                        BRANCH NAME:    Santa Monica Courthouse
            CASE NAME:
            Richard Allen v. NCB Management Services, Inc.
                                                                                                                                      CASE NUMBER:
                  CIVIL CASE COVER SHEET                                                Complex Case Designation
       I / I Unlimited                        I   I Limited                                                                                 1 9SMCVQ0S89
                    (Amount                           (Amount
                                                                                  I     I Counter           I     I Joinder
                                                                                                                                       JUDGE:
                    demanded                          demanded is                 Filed with first appearance by defendant
                    exceeds $25,000)                  $25,000 or less)                  (Cal. Rules of Court, rule 3.402)               dept.-

                                                         Items 1-6 below must be completed (see instructions on page 2).
       1. Check one box below for the case type that best describes this case:
             Auto Tort                                                        Contract                                         Provisionally Complex Civil Litigation
                          Auto (22)                                           I       I Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400-3.403)

             I            Uninsured motorist (46)                             I       I Rule 3.740 collections (09)            I I    Antitrust/Trade regulation (03)
             Other PI/PD/WD (Personal Injury/Property                         I       j Other collections (09)                 LJ     Construction defect (10)
             Damage/Wrongful Death) Tort                                      I       I Insurance coverage (18)                I I    Mass tort (40)
             I          I Asbestos (04)                                       I       I Other contract (37)                    I I    Securities litigation (28)
             LJ Product liability (24)                                        Real Property                                    I I    Environmental/Toxic tort (30)
             l I Medical malpractice (45)                                     I       I Eminent domain/Inverse                 I l    Insurance coverage claims arising from the
                          Other PI/PD/WD (23)                                           condemnation (14)                             above listed provisionally complex case
                                                                              I       I Wrongful eviction (33)                        types (41)
                 Non-PI/PD/WD (Other) Tort

             I          1 Business tort/unfair business practice (07)         I       I Other real property (26)               Enforcement of Judgment

             I            Civil rights (08)                                   Unlawful Detainer                                I    I Enforcement ofjudgment (20)
             I          I Defamation (13)                                     I       I Commercial (31)                        Miscellaneous Civil Complaint
                          Fraud (16)                                          I       I Residential (32)                              RICO (27)
             LJ Intellectual property (19)                                    I       I Drugs (38)                             I    I Other complaint (not specified above) (42)
             I I Professional negligence (25)                                 Judicial Review                                  Miscellaneous Civil Petition

             CZl Other non-PI/PD/WD tort (35)                                 L_J Asset forfeiture (05)                        I    I Partnership and corporate governance (21)
                 Employment                                                   LJ Petition re: arbitration award (11)           Q 0ther petition (not specified above) (43)
             I          I Wrongful termination (36)                        I   I Writ of mandate (02)
             I          I Other employment (15)                            I   I Other judicial review (39)
       2. This case               I    I is       I     I is not     complex under rule 3.400 of the California Rules of Court If the case is complex, mark the
                 factors requiring exceptional judicial management:
                 a. I      I Large number of separately represented parties                          d. I       I Large number of witnesses
                 b. I      I Extensive motion practice raising difficult or novel                    e. I       I Coordination with related actions pending in one or more courts
                              issues that will be time-consuming to resolve                                      in other counties, states, or countries, or in a federal court
                 c. I      I Substantial amount of documentary evidence                              f. I       I Substantial postjudgment judicial supervision
       3. Remedies sought (check all that apply): a. I / I monetary                                 b.| / I nonmonetary; declaratory or injunctive relief                   c. I      i punitive
       4. Number of causes of action (specify): 3
       5. This case I                  I is       I / I is not       a class action suit.
       6.        If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)

      Date: May 13, 2019
      Todd M. Friedman
                                              (TYPE OR PRINT NAME)                                                            (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)

                                                                                                    NOTICE
            • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
              under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
              in sanctions.
            • File this cover sheet in addition to any cover sheet required by local court rule.
            • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
              other parties to the action or proceeding.
            • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                          'ago 1 of 2
      Form Adopted for Mandatory Use                                                                                                      Cal. Rules of Court, rules 2.30. 3.220, 3.400-3.403. 3.740;
        Judicial Council of California                                        CIVIL CASE COVER SHEET                                              Cal. Standards of Judicial Administration, std. 3.10
        CM-010 [Rev. July 1, 2007]                                                                                                                                              nnew.cotrrtlRib.ca.gov
                                                                                                                                                                          I American legaiNet, Inc.
                                                                                                                                                                         Iwww.Forms Mbrtcffiow.com
   Case 2:19-cv-05353-JAK-MRW Document 1-1 Filed 06/19/19 Page 11 of 11 Page ID #:14

                                                                                                                                                CM-010
                                           INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1 . This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1 , you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1.
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading, A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                                CASE TYPES AND EXAMPLES
Auto Tort                                           Contract                                             Provisionally Complex Civil Litigation (Cal.
    Auto (22)-Personal Injury/Property                    Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
        Damage/Wrongful Death                                 Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
    Uninsured Motorist (46) (if the                               Contract (not unlawful detainer             Construction Defect (10)
        case involves an uninsured                                   or wrongful eviction)                    Claims Involving Mass Tort (40)
        motorist claim subject to                             Contract/Warranty Breach-Seller                 Securities Litigation (28)
        arbitration, check this item                             Plaintiff (not fraud or negligence)          Environmental/Toxic Tort (30)
        instead ofAuto)                                       Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                                 Warranty                                          (arising from provisionally complex
Property Damage/Wrongful Death)                               Other Breach of Contract/Warranty                   case type listed above) (41 )
Tort                                                      Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                            book accounts) (09)                             Enforcement of Judgment (20)
         Asbestos Property Damage                             Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
          Asbestos Personal Injury/                           Other Promissory Note/Collections                         County)
               Wrongful Death                                     Case                                            Confession of Judgment (non-
      Product Liability (not asbestos or                  Insurance Coverage (not provisionally                        domestic relations)
          toxic/environmental) (24)                           complex) (18)                                        Sister State Judgment
      Medical Malpractice (45)                        .       Auto Subrogation                                     Administrative Agency Award
            Medical Malpractice-                              Other Coverage                                          (not unpaid taxes)
               Physicians & Surgeons                      Other Contract (37)                                      Petition/Certification of Entry of
         Other Professional Health Care                    Contractual Fraud                                          Judgment on Unpaid Taxes
               Malpractice                                 Other Contract Dispute                                  Other Enforcement of Judgment
      Other PI/PD/WD (23)                           Real Property                                                      Case
         Premises Liability (e.g., slip                Eminent Domain/inverse                             Miscellaneous Civil Complaint
               and fall)                                   Condemnation (14)                                 RICO (27)
         Intentional Bodily Injury/PD/WD               Wrongful Eviction (33)                                 Other Complaint (not specified
                    (e.g., assault, vandalism)                                                                   above) (42)
                                                          Other Real Property (e.g., quiet title) (26)
            Intentional Infliction of                                                                              Declaratory Relief Only
                                                              Writ of Possession of Real Property
                 Emotional Distress                                                                                Injunctive Relief Only (non-
                                                              Mortgage Foreclosure
            Negligent Infliction of                                                                                    harassment)
                                                              Quiet Title
                 Emotional Distress                           Other Real Property (not eminent
                                                                                                                  Mechanics Lien
            Other PI/PD/WD                                                                                        Other Commercial Complaint
                                                              domain, landlord/tenant, or
Non-PI/PD/WD (Other) Tort                                     foreclosure)                                            Case (non-tort/non-complex)
                                                    Unlawful Detainer                                             Other Civil Complaint
      Business Tort/Unfair Business
                                                                                                                     (non-tort/non-complex)
         Practice (07)                                    Commercial (31 )
                                                                                                          Miscellaneous Civil Petition
      Civil Rights (e.g., discrimination,              Residential (32)
                                                                                                              Partnership and Corporate
          false arrest) (not civil                     Drugs (38) (if the case involves illegal
           harassment) (08)
                                                                                                                   Governance (21)
                                                            drugs, check this item; otherwise,                Other Petition (not specified
      Defamation (e.g., slander, libel)                     report as Commercial or Residential)
                                                                                                                   above) (43)
             (13)                                  Judicial Review                                                Civil Harassment
      Fraud (16)                                       Asset Forfeiture (05)
                                                                                                                  Workplace Violence
      Intellectual Property (19)                       Petition Re: Arbitration Award (11)
      Professional Negligence (25)                                                                                 Elder/Dependent Adult
                                                       Writ of Mandate (02)
           Legal Malpractice                                                                                           Abuse
                                                            Writ-Administrative Mandamus
           Other Professional Malpractice                                                                          Election Contest
                                                            Writ-Mandamus on Limited Court
         (not medical or legal)                                                                                    Petition for Name Change
                                                                  Case Matter
   Other Non-PI/PD/WD Tort (35)                                                                                    Petition for Relief From Late
                                                              Writ-Other Limited Court Case
                                                                                                                      Claim
Employment
                                                                 Review                                           Other Civil Petition
      Wrongful Termination (36)
                                                          Other Judicial Review (39)
      Other Employment (15)
                                                              Review of Health Officer Order
                                                              Notice of Appeal-Labor
                                                                Commissioner Appeals
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                                                          CIVIL CASE COVER SHEET
